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VIRGINIA:
IN THE CIRCUIT COURT OF TAZEWELL COUNTY

JOHN RIFE

Plaintiff

Vv. At Law: L | = 4 O
TRACTOR SUPPLY COMPANY
Serve Registered Agent: CT CORPORATION SYSTEM Received and filed in Tazewell County,
4701 COX RD. Virginia Circuit Court Clerk’s Office.
SUITE 285 This the ZR day of ; |
GLEN ALLEN, VA 23060 ‘Tine Z

TESTE:
Defendant. Clerk, Deputy Clerk

 

 

COMPLAINT
(Negligence — Premises Liability)

NOW COMES the Plaintiff JOHN RIFE, by counsel, Shari Cohen Boscolo, and
CHASENBOSCOLO INJURY LAWYERS, and moves this Court for a Judgment against the
Defendants TRACTOR SUPPLY COMPANY, and in support thereof states as follows:

1. The Plaintiff JOHN RIFE (hereinafter “Mr. Rife’) is an adult resident of the
Commonwealth of Virginia.

2. Upon information and belief, Defendant TRACTOR SUPPLY COMPANY (hereinafter
“Defendant Tractor Supply Co”) is a Tennessee company authorized to do business in
the Commonwealth of Virginia; and owns real property in the Commonwealth of Virginia,
including at or near 12966 Gov. GC Peery Hwy.. Pounding Mill, Virginia, 24637
(hereinafter "the Premises’).

3. The events that give rise to this action occurred in TAZEWELL COUNTY, Virginia.

4. On or about April 13, 2019, Mr. Rife was shopping in the Premises, which operates as a
retail outlet.

5. On or about April 13, 2019, Mr. Rife slipped and fell in one of the aisles of the Premises,

causing him severe injury.

DEFENDANT’S
j EXHIBIT

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6. The cause of Mr. Rife’s fall at the Premises on or about April 13, 2019 was loose dog
food, which had fallen onto the floor

7. Upon information and belief, Defendant cleans and maintains the floor in the aisle where
Mr. Rife fell.

8. Upon information and belief, Defendant had failed remove the loose dog food from the
floor of the aisle in which Mr. Rife fell.

9. Upon information and belief, Defendant had failed to warn Mr. Rife of any loose dog food
on the floor of the aisle in which Mr. Rife fell.

10. Upon information and betief, the aforementioned hazard on the floor was placed there by
the Defendant.

11. Upon information and belief, the Defendant was aware of the aforementioned hazard
and chose not to correct it.

12. Upon information and belief, the Defendant was aware of the aforementioned hazard
and chose not to warn about it.

13. Upon information and belief, the aforementioned hazard on the floor was a cause of Mr.
Rife’s slip and fall.

14. Upon information and belief, the Defendant's failure to warn of the aforementioned
hazard on the floor was a cause of Mr. Rife’s slip and fall.

15. At the aforesaid time and place, Defendant Tractor Supply Co including their agents,
servants and employees, owed Mr. Rife duties to use ordinary care in maintaining the
premises under its control in a reasonably safe condition. These duties included, but
was not limited to, inspecting, maintaining, and repairing the premises. These duties
further required Defendant to correct any dangerous and defective conditions which
existed on the subject premises and to warn persons such as Mr. Rife of any dangerous

and defective conditions of which they were aware or which they reasonably should

have been aware.
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16. At the aforesaid time and place, Defendant Tractor Supply Co, including their agents,
servants and employees, breached these duties when. with full knowledge, they failed to
correct a known defective condition. Defendant Tractor Supply Co, and/or their agents,
servants and/or employees, chose not to remediate, remove, or prevent from forming the
loose dog food slipping hazard in the aisles at the Premises, at the particular area at
which Mr. Rife fell. This choice exposed Mr. Rife to a dangerous and defective condition.
Defendant Tractor Supply Co further breached these duties by choosing not to warn Mr.
Rife of the dangerous and defective conditions which existed on the premises.

17. As a direct and proximate result of Defendant's multiple breaches of duties, Mr. Rife was
injured when he fell at the above premises.

18.As a direct and proximate result of Defendant's choices, breaches of duty and
negligence, Mr. Rife suffered severe, permanent, and uncompensated harms and
losses. These harms and losses include past, present, and future physical symptoms,
immobility, isolation and diminished capacity to perform the activities of daily living and
enjoy life. These harms and losses caused and continue to cause Mr. Rife to expend
great sums of money for hospitals, physicians, and related care and treatment. Mr. Rife
endured and continues to endure mental and emotional harms and losses, including
frustration, fright, shock and anguish. Further, these injuries have caused and will
continue to cause Mr. Rife to lose wages and wage earning opportunity.

19. Plaintiff JOHN RIFE neither contributed to the negligence which caused his injuries, nor

assumed the risk of the injuries sustained.
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STATEMENT OF CLAIMS
COUNT |
(NEGLIGENCE - DEFENDANT TRACTOR SUPPLY CO, LLC.)
20. Mr. Rife incorporates the allegations of paragraphs one through nineteen (19) above
and, in addition, avers that Defendant Tractor supply Co.’s choices constitute negligence
which harmed Mr. Rife, justifying an allowance of money damages against Defendant

Tractor Supply Co.

WHEREFORE, Mr. Rife demands judgment against Defendant Tractor Supply Co., LLC,
and prays that damages be awarded in the amount of ONE MILLION DOLLARS
($1,000,000.00) pilus interest from the date of incident on which this claim is based, court costs
and such other and further relief as this Court deems proper, including pre-judgment and post-
judgment interest.

A TRIAL BY JURY IS REQUESTED IN THIS MATTER.
Respectfully submitted,

JOHN RIFE
By Counsel

 

Shari Cohen Boscolo, Esq. (VSB #96272)
CHASENBOSCOLO injury Lawyers

7852 Walker Dr.

Suite 300

Greenbelt, MD 20770

(301) 220-0050 (p)

(301) 474-1230 (f)
scboscolo@chasenboscolo.com

Counsel for Mr. Rife
Case 1:21-cv-00016-JPJ-PMS Document 1-1 Filed 04/19/21 Page 5 of 10

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WEB ADDRESS
www.CHASENBOSCOLO.com

Pageid#: 9

ADMITTED TO PRACTICE IN MARYLAND VIRGINIA 46ND THE DISTRICT OF COLUMB'

* MARYLAND
# PENNSYLVANIA - MASSACHUSETTS

+ DISTRICT OF COLUMBIA | RGA
“MEW YORK

6402 ARLINGTON BLVD, #800
FALLS CHURCH, VA 22042
TELEPHONE (703) 538-1138
TELECCPIER (703) 538-2774

7852 WALKER DR, #300
GREENBELT, MD 20770
TELEPHONE (301) 220-0050
TELECOPIER (301) 474-1230

3010 CRAIN HWY. # 301
WALDORF. MD 20601
TELEPHONE (301) 645-1155
TELECOPIER (301) 645-5260

"ONTARIO CANSD8

12 WEST MONTGOMERY ST. #206
BALTIMORE, MD 21230
TELEPHONE (800) 728-5898
TELECOPIER (301) 474-1230

Reply etectronically to sender's e-mail address or records@chasenboscolo.com

BARRY M. CHASEN'+
BENJAMIN T. BOSCOLO'+a
THOMAS TEODORI*+
MATTHEW J. PEFFER® +=

KEVIN H STILLMAN'+
KRISTA N DESMYTER‘+e
DAVID J KAPSON’+a
DAVID M. SNYDER
SHAKETTA A. DENSON’+
ROBERT A GARZA’
PATRICK C. STEWART*+
BRITTANY E PERRY*+
ALICIA L. KIMIa+~

MICHAEL D. REITER*+e
JOHN T. EVERETT*+

SEMOR COUNSEL

GERALD HERZ*+ ret

SHARI COHEN BOSCOLO*+
MELIHA PEREZ HALPERN*+B

March 15, 2021

Circuit Court for Tazewell County, Virginia
Clerk, Civil

135 Court St.

Suite 202

Tazewell, Virginia 24651 Re:

New Case Filing

MONIQUE L LEE*+
CAMERON S. THOMPSON”
ALEXANDER R. ROGOSA+*

CASEY DUCHESNEs+
MELOOY M. HAYNES*+
KYLE J. SHOEMAKER™+
ASHLEY STRANDJOROS+0°
EVA N. KALMAR*+n‘o
MICHAEL E OUNCANSON®

VICTORIA BURNETTE+

John Rife v. Tractor Supply Company, LLC

 

Dear Clerk of the Court:

Please find enclosed for filing Plaintiff John Rife's Complaint and Discovery Requests for
the above referenced action. Also enclosed is a check #1275 made payable to the Clerk of the
Court for $356.00 representing the required filing fee. Please date stamp and return one copy of
the complaint and discovery in the pre-addressed, pre-stamped envelope.

Kindly prepare a summons along with a date stamped copy of the complaint and

discovery for pick up by The Virginia Sheriff's
Defendant Tractor Supply Company, LLC

office for personal service on

CT CORPORATION SYSTEM

4701 COX RD. SUITE 285
GLEN ALLEN, VA 23060

Thank you for your kind cooperation and please call if you have any questions.

Very truly yours,

Received and filed in Tazewell Coats.

Virginia a Court Clerk's Off

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Shari Cohen Boscolo, Esq.
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VIRGINIA:
IN THE CIRCUIT COURT FOR THE COUNTY OF TAZEWELL
JOHN RIFE,
Plaintiff,
v. Case No. CL21-450
TRACTOR SUPPLY COMPANY,
Defendant.

DEFENDANT TRACTOR SUPPLY COMPANY’S
ANSWER TO THE COMPLAINT

 

COMES NOW, Defendant Tractor Supply Company, by counsel, and states as follows
for its Answer to the Complaint filed by Plaintiff John Rife.

L. Upon information and belief, Tractor Supply Company admits the allegations
contained in Paragraph | of the Complaint.

2. In response to the allegations in Paragraph 2 of the Complaint, Tractor Supply
Company states that it is a corporation organized under the laws of the state of Delaware with its
principal place of business in the state of Tennessee. Tractor Supply Company further states that
it operates at Tractor Supply Company store located at 12966 Gov. GC Peery Highway,
Pounding Mill, Virginia 24637. All other allegations contained in Paragraph 2 of the Complaint
not specifically admitted herein are denied.

3. In response to the allegations in Paragraph 3 of the Complaint, Tractor Supply
Company admits that the store located at 12966 Gov. GC Peery Highway, Pounding Mill,
Virginia 24637, is located in the County of Tazewell, Virginia. All other allegations contained in

Paragraph 3 of the Complaint, not specifically admitted herein are denied.
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4. Upon information and belief, Tractor Supply Company admits the allegations in
Paragraph 4 of the Complaint.

5. Tractor Supply Company denies the allegations contained in Paragraph 5 of the
Complaint.

6. In response to the allegations in Paragraph 6 of the Complaint, upon information
and belief, Tractor Supply Company denies that Plaintiff fell while on the premises on April 13,
2019. Tractor Supply Company specifically denies that Plaintiff's alleged fall was due to any
negligence on behalf of Tractor Supply Company. All allegations contained in Paragraph 6 of the
Complaint not specifically admitted herein are denied.

7. In response to the allegations in Paragraph 7 of the Complaint, Tractor Supply
Company states that it maintains the premises located at 12966 Gov. GC Peery Highway,
Pounding Mill, Virginia 24637.

8. Tractor Supply Company denies the allegations in Paragraph 8 of the Complaint.

9. Tractor Supply Company denies the allegations in Paragraph 9 of the Complaint.

10. Tractor Supply Company denies the allegations in Paragraph 10 of the Complaint.

11. Tractor Supply Company denies the allegations in Paragraph 11 of the Complaint.

12. Tractor Supply Company denies the allegations in Paragraph 12 of the Complaint.

13. Tractor Supply Company denies the allegations in Paragraph 13 of the Complaint.

14. Tractor Supply Company denies the allegations in Paragraph 14 of the Complaint.

15. The allegations in Paragraph 15 of the Complaint constitute legal opinions and/or
conclusions to which no response is required. To the extent a response is required, Tractor

Supply Company denies the allegations in Paragraph 15 of the Complaint.
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16. The allegations in Paragraph 16 of the Complaint constitute legal opinions and/or
conclusions to which no response is required. To the extent a response is required, Tractor
Supply Company denies the allegations in Paragraph 16 of the Complaint.

17. Tractor Supply Company denies the allegations in Paragraph 17 of the Complaint.

18. Tractor Supply Company denies the allegations in Paragraph 18 of the Complaint.

19. The allegations in Paragraph 19 of the Complaint constitute legal opinions and/or
conclusions to which no response is required. To the extent a response is required, Tractor
Supply Company denies the allegations in Paragraph 19 of the Complaint.

20. _—_In response to Paragraph 20 of the Complaint, Tractor Supply incorporates and
references its answers to Paragraphs | through 19 of the Complaint. Tractor Supply Company
further, denies any and all other the allegations contained in Paragraph 20 of the Complaint.

21. Tractor Supply Company denies the allegations in the WHEREFORE paragraph
of the Complaint.

22. Tractor Supply Company denies all allegations not specifically admitted herein.

23. Tractor Supply Company denies that it committed any act of negligence that was
a proximate cause of Plaintiff's claimed damages.

24. Tractor Supply Company denies that it is liable to Plaintiff in any amount for any
cause whatsoever.

25. Tractor Supply Company denies that Plaintiff has been damaged in the amount or
to the extent alleged in the Complaint.

26. Tractor Supply Company intends to rely upon any and all proper and provable
affirmative defenses, including but not limited to assumption of risk and contributory negligence,

that are supported by further investigation, discovery, or the presentation of evidence.
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27. ‘Tractor Supply Company reserves the right to amend this Answer to the extent it

is supported by further investigation, discovery. or the presentation of evidence.

WHEREFORE Defendant Tractor Supply Company. by counsel, requests that the

Complaint be dismissed with prejudice and that it be awarded all costs associated with its

defense of this action.

 

(oe R. Owen (VSB No. 39560)

Elizabeth O. Papoulakos (VSB No. 89468)

P. Bradenham Michelle. 1V (VSB No. 92406)
Harman, Claytor, Corrigan & Wellman

P.O. Box 70280

Richmond, Virginia 23255

804-747-5200 - Phone

804-747-6085 - Fax

Jowen@heew.com

epapoulakos@heew.com
bmichelle<hcew.com

TRACTOR SUPPLY COMPANY

By Counsel
Case 1:21-cv-00016-JPJ-PMS Document1-1 Filed 04/19/21 Page 10o0f10 Pageid#: 14

CERTIFICATE

I hereby certify that a true copy of the foregoing was sent via email and U.S. Mail this
14th day of April, 2021 to:

Shari Cohen Boscolo, Esq.
ChaseBoscolo Injury Lawyers
7852 Walker Dr., Suite 300
Greenbelt, MD 20770
301-220-0050 - Phone
301-474-1230 - Fax
scboscolo@chasenboscolo.com

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